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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


    In re:                                                   Chapter 11
                           1
    USA GYMNASTICS,                                          Case No. 18-09108-RLM-11

                           Debtor.


       NOTICE OF JENNER & BLOCK’S MONTHLY STATEMENT FOR SERVICES
            RENDERED AND EXPENSES INCURRED IN SEPTEMBER 2019

             PLEASE TAKE NOTICE that on October 23, 2019 Jenner & Block LLP, as counsel to the

debtor and debtor in possession in the above-captioned chapter 11 case, submitted a monthly

invoice for fees and expenses incurred between September 1, 2019 and September 30, 2019 (the
                                 2
“September 2019 Invoice”), in accordance with the Order Granting Debtor’s Motion For Entry

Of Order Establishing Procedures For Interim Compensation And Reimbursement Of

Professionals [Dkt. 187] (the “Interim Compensation Order”).

             PLEASE TAKE FURTHER NOTICE that the September 2019 Invoice, attached hereto as

Exhibit A, seeks compensation for $390,960.25 in fees and $3,176.60 in expenses.

             PLEASE TAKE FURTHER NOTICE that any objections to the Invoice must be filed

and served upon the undersigned counsel by November 6, 2019 at 4:00 p.m. (prevailing

Eastern time), in accordance with the Interim Compensation Order.




1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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  The Invoice is redacted to avoid the disclosure of privileged and confidential information.
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       PLEASE TAKE FURTHER NOTICE that, if no objection is timely filed, the Debtor shall

promptly pay 80% of the fees and 100% of the expenses identified in the Invoice, subject to final

approval by the Court at a future hearing.


Dated: October 23, 2019                             Respectfully submitted,

                                                    JENNER & BLOCK LLP

                                                    By: /s/ Catherine Steege
                                                    Catherine L. Steege (admitted pro hac vice)
                                                    Dean N. Panos (admitted pro hac vice)
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